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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 The State of Texas, et al.,

                          Plaintiffs,                   Case No. 4:20-cv-00957-SDJ

 v.                                                     Hon. Sean D. Jordan

 Google LLC,
                                                        Special Master: David T. Moran
                          Defendants.


                                                ORDER

          Before the Court is Plaintiff States’ Unopposed Motion to File Under Seal and to Extend

Time Limit Under Local Rule CV-5(a)(7)(E). Plaintiff States request leave to file under seal:

         Plaintiff States’ Response to Google’s Motion to Exclude; and

         Declaration of Noah S. Heinz in Support of Plaintiff States’ Opposition to Google’s
          Motion to Exclude and all attached exhibits.

          Plaintiff States also request that the time limit to file redacted versions of these documents

be extended from seven to 21 days.

          For good cause shown, this Court hereby GRANTS the States’ Unopposed Motion to File

Under Seal and to Extend Time Limit Under Local Rule CV-5(a)(7)(E).

          It is further ORDERED that the foregoing documents shall remain under seal and that

Defendant Google LLC shall have 21 days to file redacted versions of the foregoing documents.

          IT IS SO ORDERED.




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